       Case: 3:19-cv-01007-wmc Document #: 210 Filed: 12/21/20 Page 1 of 1




December 21, 2020



U.S. Magistrate Judge Stephen L. Crocker
120 N. Henry Street, Ste. 320
Madison, WI 53703

Re:     Driftless Area Land Conservancy, et al. v. Michael Huebsch, et al.
        Court File No. 19-cv-1007-wmc

Dear Magistrate Judge Crocker:

On December 16, 2020, the Court directed the Intervening Co-Owners to submit for in camera
review the Confidentiality, Common Interest, and Joint Defense Agreement. (See Dkt. No. 204.)
On December 17, 2020, the United States Court of Appeals for the Seventh Circuit granted
Defendants-Appellants’ Motion to Stay the District Court Proceedings. (Dkt. No. 206.)

The Intervenor Co-Owners understand the Seventh Circuit’s stay order to stay all discovery,
including discovery related to the Co-Owners’ Common Interest Agreement and to stay the Co-
Owners’ obligation to submit their Common Interest Agreement to the Court for in camera review.
Given this understanding, the Intervenor Co-Owners will await further instruction from the Court
before submitting the agreement.

Sincerely,

s/ Lisa M. Agrimonti

Lisa M. Agrimonti
Direct Dial: 612.492.7344
Email: lagrimonti@fredlaw.com
